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                       UNITED STATES BANKRUPTCY COURT

                          FOR THE DISTRICT OF COLORADO

 IN RE:                                   )
                                          )            Case No. 17-14004-EEB
 MESA OIL, INC.                           )
                                          )            Chapter 11
 Debtor.                                  )
                                          )
                                          )
                                          )
 Employer’s Tax Identification No.:       )
 XX-XXXXXXX                               )


                            PLAN OF REORGANIZATION

                              DATED OCTOBER 25, 2017


         Mesa Oil, Inc. (“Debtor”), Debtor and Debtor-in-Possession, hereby proposes the
 following Plan of Reorganization pursuant to Chapter 11, Title 11 of the United States
 Code.


                                       ARTICLE I

                                   INTRODUCTION

         The Debtor is a New Mexico corporation engaged in business as a wholesale
 supplier and processor of blended fuel products, and recycles used oil, fuel, antifreeze,
 and related products through its facilities in Colorado, Arizona and New Mexico. The
 Debtor’s main offices are located at 6395 East 80th Avenue, Commerce City, Colorado
 80022. Lawrence Meers (“Meers”) is the 100% owner of the Debtor, and is the CEO of
 the Debtor and manages the Debtor’s day-to-day affairs.
         This Plan provides for the reorganization of the Debtor under Chapter 11 of the
 Bankruptcy Code.     Pursuant to the Plan, the Debtor shall restructure its debts and
 obligations and continue to operate in the ordinary course of business.         A more
 complete history of the Debtor, its operations, an explanation of this Plan, and a



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 description of the Debtor’s financial condition and future business activity is contained
 in the Disclosure Statement which accompanies this Plan. Reference should be made to
 the Disclosure Statement by all creditors and parties who intend to cast a ballot for or
 against this Plan.


                                       ARTICLE II

                                      DEFINITIONS

        2.01 - Administrative Claim shall mean a Claim for payment of an administrative
 expense of a kind specified in § 503(b) or 1114(e)(2) of the Bankruptcy Code and
 entitled to priority pursuant to § 507(a)(2) of the Bankruptcy Code, including, but not
 limited to: (a) the actual, necessary costs and expenses, incurred after the Petition Date,
 of preserving the estate and operating the business of the Debtor, including wages,
 salaries, or commissions for services rendered after the commencement of the Chapter
 11 Case; (b) Professional Fee Claims; (c) all fees and charges assessed against the
 estates under 28 U.S.C. § 1930; and (d) all Allowed Claims that are entitled to be
 treated as Administrative Claims pursuant to a Final Order of the Bankruptcy Court
 under § 546(c)(2) of the Bankruptcy Code.
        2.02 - Allowed Claim shall mean a claim in respect of which a Proof of Claim
 has been filed with the Court within the applicable time period of limitation fixed by
 Court Order in this case or scheduled in the list of creditors prepared and filed with the
 Court pursuant to Bankruptcy Rule 1007(b) and not listed as disputed, contingent or
 unliquidated as to amount, in either case as to which no timely objection to the
 allowance thereof has been filed pursuant to Bankruptcy Rules 3001 and 3007 or as to
 which any such objection has been determined by a Final Order.
        2.03 - Allowed Secured Claim shall mean an allowed claim secured by a lien,
 security interest or other charge against or interest in property in which the Debtor has
 an interest, or which is subject to setoff under § 553 of the Code, to the extent of the
 value (determined in accordance with § 506(a) of the Code) of the interest of the holder
 of any such allowed claim and the Debtor’s interest in such property or to the extent of
 the amount subject to such setoff as the case may be.



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        2.04 - Avoidance Actions means the Debtor’s estate’s interest in any and all
 Claims, rights and causes of action which have been or may be commenced by or on
 behalf of the Debtor to avoid and recover any transfers of property determined to be
 preferential, fraudulent or otherwise avoidable pursuant to §§ 544, 545, 547, 548, 549,
 550 or 553 of the Bankruptcy Code, or under any other applicable law, or otherwise
 subject to equitable subordination under §510 of the Bankruptcy Code, regardless of
 whether or not such actions have been commenced prior to the Effective Date.
        2.05 - Claim shall mean any right to payment, or right to any equitable remedy
 for breach of performance if such breach gives rise to the right to payment, against the
 Debtor in existence on or as of the Petition Date, whether or not such right to payment
 or right to an equitable remedy is reduced to judgment, liquidated, unliquidated, fixed,
 contingent, matured, unmatured, disputed, undisputed, legal, secured or unsecured.
        2.06 - Class shall mean any Class into which Allowed Claims are classified
 pursuant to Article III.
        2.07- Class 1-10 Claims and Interests shall mean the Allowed Claims and
 Interests so classified in Article III.
        2.08 - Code shall mean the Bankruptcy Code, 11 U.S.C. § 101 et seq. and any
 amendments thereof.
        2.09 - Confirmation Date shall mean the date upon which the Order of
 Confirmation is entered by the Court.
        2.10 - Court shall mean the United States Bankruptcy Court for the District of
 Colorado in which the Debtor’s Chapter 11 case is pending, pursuant to which this Plan
 is proposed, and any Court having competent jurisdiction to hear appeal or certiorari
 proceedings therefrom.
        2.11 - Debtor shall mean the Debtor who is proposing this Chapter 11 Plan.
        2.12 - Disclosure Statement shall mean the Disclosure Statement which is
 approved by the Court according to 11 U.S.C. § 1125 to be utilized to solicit votes for
 this Plan.
        2.13 - Disputed Claim means any Claim which is not an Allowed Claim,
 including, without limitation, any Claim designated as disputed, contingent or
 unliquidated in Debtor’s schedules filed in connection with this case, or any Claim



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 against which an objection to the allowance thereof has been interposed, and as to
 which no Final Order has been entered.
        2.14 - Effective Date of the Plan shall mean the date on which the Order of
 Confirmation is entered and becomes final, or if a stay is entered pending appeal of the
 Order of Confirmation, the date on which the stay is no longer in effect.
        2.15 - Final Order shall mean an order or judgment of the Court which shall not
 have been reversed, stayed, modified or amended and as to which (a) the time to appeal
 from or to seek review, rehearing or certiorari shall have expired, and (b) no appeal or
 petition for review, rehearing or certiorari is pending or if appealed shall have been
 affirmed, or the appeal dismissed by the highest court to which such order was
 appealed, or if review, rehearing or certiorari was sought, such review, rehearing or
 certiorari has been denied and no further hearing, appeal or petition for review,
 rehearing or certiorari can be taken or granted or as to which any right to appeal or to
 seek a review, rehearing or certiorari has been waived.
        2.16 - Gross Revenue shall mean the gross revenue actually received by the
 Debtor from the operation of its business, less sales and other taxes collected.
        2.17 - Interest shall mean any member or shareholder interest or any other
 instrument evidencing any ownership interest in the Debtor and any option, warrant or
 right of any nature, contractual or otherwise, to acquire a member or other ownership
 interest in the Debtor existing as of the Petition Date.
        2.18 - Order of Confirmation shall mean the Order entered by the Court
 confirming the Plan in accordance with the provisions of Chapter 11 of the Code.
        2.19 - Petition Date shall mean the date on which the voluntary petitions were
 filed by the Debtor on May 2, 2017.
        2.20 - Plan shall mean this Plan of Reorganization, as amended in accordance
 with the terms hereof or modified in accordance with the Code, including all exhibits
 and schedules attached hereto or referenced herein or therein.
        2.21 - Priority Claim means any pre-petition Claim entitled to a priority in
 payment under § 507(a) of the Code, but shall not include any Administrative Claim or
 Tax Claim.




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          2.22 - Pro Rata shall mean the ratio of an Allowed Claim or Interest in a
 particular Class to the aggregate amount of all Allowed Claims or Interests in that
 Class.
          2.23 - Professional Fees means the Administrative Claims for compensation and
 reimbursement submitted pursuant to Section 330, 331 and 503(b) of the Code by a
 Professional Person.
          2.24 - Rules shall mean the Federal Rules of Bankruptcy Procedure and Local
 Bankruptcy Rules for the District of Colorado as adopted by the Court.
          2.25 - Tax Claim means any unsecured Claim of a governmental unit for taxes
 entitled to priority pursuant to 11 U.S.C. § 507(a)(8).
          2.26 - Unclassified Priority Claims shall mean Claims pursuant to Section
 507(a)(2) which are Administrative Claims allowed under Section 503(b) of the Code
 and any fees and charges against the estate under Chapter 123 of Title 28 of the United
 States Code and shall further mean Allowed Unsecured Claims of governmental units to
 the extent provided for in Section 507(a)(8) of the Code.
          2.27 - Other Definitions. Unless the context otherwise requires, any capitalized
 term used and not defined herein or elsewhere in the Plan but that is defined in the
 Code or Rules shall have the meaning set forth therein.


                                       ARTICLE III

                     DESIGNATION OF CLAIMS AND INTERESTS

          The following is a designation of all classes of Claims and Interests other than
 those Claims of a kind specified in Sections 507(a)(2), 507(a)(3) or 507(a)(8) of the
 Code.
          Class 1 - All Allowed Unsecured Claims specified in Section 507(a)(4) and
 507(a)(5) of the Code as having priority.
          Class 2 – The Allowed Secured Claim held by the Internal Revenue Service
          Class 3 – The Allowed Secured Claim held by the Colorado Department of
 Revenue.




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        Class 4 – The Allowed Secured Claim held by the New Mexico Taxation and
 Revenue Department.
        Class 5– The Allowed Secured Claim held by the Adams County Treasurer.
        Class 6 – The Allowed Secured Claim held by the Valencia County Treasurer.
        Class 7 – The Allowed Secured Claim held by Vertex Refining LA, LLC
        Class 8 – The Allowed Secured Claim held by Transwest
        Class 9 – The Allowed Claims held by unsecured creditors.
        Class 10 – The Interests in the Debtor.
                                       ARTICLE IV

  SPECIFICATION AND TREATMENT OF UNCLASSIFIED PRIORITY CLAIMS

        As provided in Section 1123(a)(1) of the Code, the Claims against the Debtor
 covered in this Article IV are not classified. The holders of such Allowed Claims are
 not entitled to vote on the Plan.
        4.1 - The holders of Allowed Claims of the type specified in Section 507(a)(2) of
 the Code, Administrative Claims, shall receive cash equal to the allowed amount of
 such Claim or a lesser amount or different treatment as may be acceptable and agreed to
 by particular holders of such Claims. Such Claims shall be paid in full on the Effective
 Date of the Plan, or treated as otherwise agreed to by the particular holders of such
 Claims. Section 507(a)(2) Administrative Claims that are allowed by the Court after
 the Effective Date of the Plan shall be paid upon allowance or as otherwise agreed.
        4.2 - The Allowed Claims of a type specified in Section 507(a)(8) of the Code,
 Tax Claims of governmental taxing authorities, shall be treated as follows:
               4.2.1 – The Internal Revenue Service (“IRS”) holds a priority claim that is
        also secured by a valid lien against substantially all of the Debtor’s assets.
        Pursuant to 11 U.S.C. §1129(a)(9)(D), the IRS claim will be treated as a secured
        claim in Article VI, Paragraph 6.1 of this Plan.
               4.2.2 – The Colorado Department of Revenue (“CDOR”) holds a priority
        claim that is also secured by a valid lien against substantially all of the Debtor’s
        assets located in the State of Colorado. Pursuant to 11 U.S.C. §1129(a)(9)(D),
        the CDOR claim will be treated as a secured claim in Article VI, Paragraph 6.2
        of this Plan.


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               4.2.3 – The New Mexico Taxation & Revenue Department (“NMRD”)
        holds a priority claim that is also secured by a valid lien against substantially all
        of the Debtor’s assets located in the State of New Mexico. Pursuant to 11 U.S.C.
        §1129(a)(9)(D), the NMRD claim will be treated as a secured claim in Article
        VI, Paragraph 6.3 of this Plan.
               4.2.4 – The Adams County Treasurer (“Treasurer”) holds a priority claim
        that is also secured by a valid lien against substantially all of the Debtor’s assets
        located in the State of Colorado, Adams County. Pursuant to 11 U.S.C.
        §1129(a)(9)(D), the Treasurer claim will be treated as a secured claim in Article
        VI, Paragraph 6.4 of this Plan. The Debtor shall have the option to accelerate
        payments without penalty. The first monthly payment shall be due on the last
        day of the first full month following the Effective Dates.
        4.3 - The Debtor will make all payments required to be paid to the U.S. Trustee
 pursuant to 28 U.S.C. § 1930(a)(6) until the case is closed, converted, or dismissed. All
 payments due to the U.S. Trustee pursuant to 28 U.S.C. § 1930(a)(6) shall be paid on
 the Effective Date, and the U.S. Trustee shall thereafter be paid fees due on a quarterly
 basis until the case is closed, converted, or dismissed.
                               ARTICLE V
             SPECIFICATION AND TREATMENT OF CLASS 1 CLAIMS

        5.1 - Allowed Class 1 Claims shall be paid in full on the Effective Date. The
 Class 1 Claims for certain pre-petition wages and employee Claims are more
 particularly described in Sections 507(a)(4) and 507(a)(5) of the Code. The Debtor
 does not expect that any claims will exist in these Classes.


                                           ARTICLE VI

     SPECIFICATION AND TREATMENT OF SECURED CREDITOR CLAIMS

        6.1 – Internal Revenue Service. The Class 2 Secured Claim consists of the
 Allowed Secured Claim held by the Internal Revenue Service (“IRS”). Class 2 is
 impaired by the Plan. The Class 2 claim will be treated under this Plan as follows:




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              a. The principal amount of the Class 2 claim will be allowed in the amount
       due on the Effective Date of the Plan in accordance with the proof of claim filed
       by the IRS or in an amount otherwise allowed by the Court. Pursuant to 11
       U.S.C. § 506, the claim is secured up to the value of the collateral securing the
       claim and unsecured for the balance.
              b. The lien position held by the Class 2 claimant shall be unaltered by the
       Plan, and shall remain in effect until the Class 2 creditor’s secured claim is
       satisfied or the underlying Property is sold.
              c. As of the Effective Date of the Plan, the Class 2 claim shall bear
       interest at the applicable statutory rate of interest.
              d.      The holder of the Class 2 Claim shall receive equal monthly
       installments of principal and interest such that the Class 2 Claim shall be paid in
       full within five (5) years of the Petition Date. The amount of each payment shall
       be the same amount as set forth in the Amended Stipulated Order Authorizing
       Use of Cash Collateral (Docket No. 83).
              e. The Debtor may pre-pay the Class 2 Claim, including all principal and
       interest, without penalty at any time.
       6.2 – Colorado Department of Revenue. The Class 3 Secured Claim consists of
 the Allowed Secured Claim held by the Colorado Department of Revenue (“CDR”)
 secured by a statutory lien on the Debtor’s assets located in the State of Colorado. The
 Class 3 Secured Claim is impaired by this Plan. The Class 3 Claim will be treated
 under the Plan as follows:
              a. The principal amount of the Class 3 claim will be allowed in the amount
       due on the Effective Date of the Plan in accordance with the proof of claim filed
       by the CDR or in an amount otherwise allowed by the Court. Pursuant to 11
       U.S.C. § 506, the claim is secured up to the value of the collateral securing the
       claim and unsecured for the balance.
              b. The lien position held by the Class 3 claimant shall be unaltered by the
       Plan, and shall remain in effect until the Class 3 creditor’s secured claim is
       satisfied or the underlying Property is sold.




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              c. As of the Effective Date of the Plan, the Class 3 claim shall bear
       interest at the applicable statutory rate of interest.
              d.      The holder of the Class 3 Claim shall receive equal monthly
       installments of principal and interest such that the Class 3 Claim shall be paid in
       full within five (5) years of the Petition Date. The amount of each payment shall
       be the same amount as set forth in the Amended Stipulated Order Authorizing
       Use of Cash Collateral (Docket No. 83).
              e. The Debtor may pre-pay the Class 3 Claim, including all principal and
       interest, without penalty at any time.
       6.3 – New Mexico Taxation & Revenue Department. The Class 4 Secured
 Claim consists of the Allowed Secured Claim held by the New Mexico Taxation and
 Revenue Department (“NMTRD”) secured by a statutory lien on the Debtor’s assets
 located in the State of New Mexico. The Class 4 Secured Claim is impaired by this
 Plan. The Class 4 Claim will be treated under the Plan as follows:
              a. The principal amount of the Class 4 claim will be allowed in the amount
       due on the Effective Date of the Plan in accordance with the proof of claim filed
       by the NMTRD or in an amount otherwise allowed by the Court. Pursuant to 11
       U.S.C. § 506, the claim is secured up to the value of the collateral securing the
       claim and unsecured for the balance.
              b. The lien position held by the Class 4 claimant shall be unaltered by the
       Plan, and shall remain in effect until the Class 4 creditor’s secured claim is
       satisfied or the underlying Property is sold.
              c. As of the Effective Date of the Plan, the Class 4 claim shall bear
       interest at the applicable statutory rate of interest.
              d.      The holder of the Class 4 Claim shall receive equal monthly
       installments of principal and interest such that the Class 4 Claim shall be paid in
       full within five (5) years of the Petition Date. The amount of each payment shall
       be the same amount as set forth in the Amended Stipulated Order Authorizing
       Use of Cash Collateral (Docket No. 83).
              e. The Debtor may pre-pay the Class 4 Claim, including all principal and
       interest, without penalty at any time.



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        6.4 – Adams County Treasurer. The Class 5 Secured Claim consists of the
  Allowed Secured Claim held by the Adams County Treasurer secured by a statutory lien
  on the Debtor’s personal property located in Adams County, Colorado. The Class 5
  Secured Claim is impaired by this Plan. The Class 5 Claims will be treated under the
  Plan as follows:
               a. The principal amount of the Class 5 claim will be allowed in the amount
        due on the Effective Date of the Plan in accordance with the proof of claim filed
        by the Adams County Treasurer or in an amount otherwise allowed by the Court.
        Pursuant to 11 U.S.C. § 506, the claim is secured up to the value of the collateral
        securing the claim and unsecured for the balance.
               b. The lien position held by the Class 5 claimant shall be unaltered by the
        Plan, and shall remain in effect until the Class 5 creditor’s secured claim is
        satisfied or the underlying Property is sold.
               c. As of the Effective Date of the Plan, the Class 5 claim shall bear
        interest at the applicable statutory rate of interest.
               d.      The holder of the Class 5 Claim shall receive equal monthly
        installments of principal and interest such that the Class 5 Claim shall be paid in
        full within five (5) years of the Petition Date.
               e. The Debtor may pre-pay the Class 5 Claim, including all principal and
        interest, without penalty at any time.
        6.5 – Valencia County Treasurer. The Class 6 Secured Claim consists of the
  Allowed Secured Claim held by the Valencia County Treasurer secured by a statutory
  lien on the Debtor’s personal property located in Valencia County, Colorado. The Class
  6 Secured Claim is impaired by this Plan. The Class 6 Claim will be treated under the
  Plan as follows:
               a. The principal amount of the Class 6 claim will be allowed in the amount
        due on the Effective Date of the Plan in accordance with the proof of claim filed
        by the Valencia County Treasurer or in an amount otherwise allowed by the
        Court. Pursuant to 11 U.S.C. § 506, the claim is secured up to the value of the
        collateral securing the claim and unsecured for the balance.




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               b. The lien position held by the Class 6 claimant shall be unaltered by the
        Plan, and shall remain in effect until the Class 6 creditor’s secured claim is
        satisfied or the underlying Property is sold.
               c. As of the Effective Date of the Plan, the Class 6 claim shall bear
        interest at the applicable statutory rate of interest.
               d.       The holder of the Class 6 Claim shall receive equal monthly
        installments of principal and interest such that the Class 6 Claim shall be paid in
        full within five (5) years of the Petition Date.
               e. The Debtor may pre-pay the Class 6 Claim, including all principal and
        interest, without penalty at any time.
        6.6 – Vertex Refining LA, LLC. The Class 7 Secured Claim consists of the
  Allowed Secured Claim held by Vertex Refining LA, LLC secured by certain vehicles
  and equipment. The Class 7 Secured Claim is impaired by this Plan.                 The Class 7
  Secured Claim will be treated and paid as follows:
               a.      The principal amount of the Class 7 Claim will be allowed: (i) in an
        amount agreed to by the Debtor and the Class 7 claimant on or before the
        Confirmation Date; or (ii) if the Class 7 Claimant objects, in an amount to be
        determined by the Court on or before the Confirmation Date;
               b.      The Class 7 Claim will bear interest at the rate of: (i) 5.75% per annum
        commencing on the Effective Date of the Plan; or (ii) if the Class 7 claimant objects to
        such rate in writing and serves a copy of such objection on the Debtor at least fifteen (15)
        days prior to the commencement of the confirmation hearing, such rate will be
        determined by the Court as necessary to satisfy the requirements of 11 U.S.C. §1129(b)
        of the Code; or (iii) such other rate as agreed by the Debtor and the Class 7 claimant;

               c.      The Class 7 claimant will retain its liens on vehicles that secured its
        Claim as of the Petition Date;
               d.      The Class 7 Claim will be amortized and paid in full in equal
        monthly installments over five (5) years following the Effective Date of the Plan.
        Payments on account of the Class 7 Claim shall begin the first full month
        following the Effective Date of the Plan.




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                e.     The Debtor shall be entitled to pre-pay the Class 7 Claim without
        premium or penalty.
        6.7 – Transwest Freightliner, LLC d/b/a Transwest Truck Trailer RV. The
  Class 8 Secured Claim consists of the Allowed Secured Claim held by Transwest
  Freightliner, LLC d/b/a Transwest Truck Trailer RV (“Transwest”) secured by a lien on
  certain vehicles. The Class 8 Secured Claim is impaired by this Plan. The Class 8
  Secured Claim will be treated and paid as follows:
                a.     The principal amount of the Class 8 Claim will be allowed: (i) in
        the amount owed on the Confirmation Date; or (ii) if the Class 8 Claimant
        objects, in an amount to be determined by the Court on or before the
        Confirmation Date;
                b.     The Class 8 Claim will bear interest at the rate of: (i) 5.5% per annum
        commencing on the Effective Date of the Plan; or (ii) if the Class 8 claimant objects to
        such rate in writing and serves a copy of such objection on the Debtor at least fifteen (15)
        days prior to the commencement of the confirmation hearing, such rate will be
        determined by the Court as necessary to satisfy the requirements of 11 U.S.C. §1129(b)
        of the Code; or (iii) such other rate as agreed by the Debtor and the Class 8 claimant;

                c.     The Class 8 claimant will retain its liens on vehicles that secured its
        Claim as of the Petition Date;
                d.     The Class 8 Claim amortized and paid in full in equal monthly
        installments over forty-eight (48) months beginning on the Effective Date of the
        Plan.
                e.     The Debtor shall be entitled to pre-pay the Class 8 Claim without
        premium or penalty.


                                         ARTICLE VII
                            SPECIFICATION AND TREATMENT OF
                                UNSECURED CREDITOR CLAIMS
        7.1 – Class 9 consists of those unsecured creditors of the Debtor who hold
  Allowed Claims. After the Effective Date of the Plan, Class 9 claimants shall receive a
  pro-rata distribution equal to 4% of the Debtor’s Gross Revenue generated over the


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  five-year period or until Class 9 claims are paid in full, less the amount necessary to
  pay any Unclassified Priority Claimant who agrees to accept deferred payment of its
  claim (“Class 8 Distribution”).    Commencing on the first full month following the
  Confirmation Date, the Debtor shall at the conclusion of each month, set aside in a
  segregated account, an amount equal to 4% of the preceding month’s Gross Revenue.
  Each time three months payments have been set aside, the Debtor shall make any
  payment due to Unclassified Priority Claimants and then the Class 9 Distribution will
  be made to Class 9 creditors on a pro-rata basis.
               a.     At any time following the Effective Date of the Plan, the Debtor
        may buy out or prepay the Class 9 claims by paying the remaining principal
        balance due on each Class 9 claim. Once the pre-payment is made, no further
        payments shall be due to Class 9.
        7.2 - In addition to the distribution set forth above, Class 9 shall be entitled to
  receive the proceeds whether obtained by litigation or settlement, net of attorney fees,
  expert fees, costs, obtained from any action undertaken by the Debtor to collect
  Avoidance Actions and net of any unpaid Unclassified Priority Claims.


                                      ARTICLE VIII
           SPECIFICATION AND TREATMENT OF CLASS 10 INTERESTS

        8.1 – Class 10 includes the Interests in the Debtor held by the pre-confirmation
  interest holders. Class 10 is unimpaired by this Plan.       On the Effective Date of the
  Plan Class 9 shall retain its Interests in the Debtor which they owned prior to the
  Confirmation Date, subject to the terms of the Plan.


                                            ARTICLE IX
                        MEANS FOR THE PLAN'S EXECUTION

        9.1 - Operation of Business.        The Debtor shall be empowered to take such
  action as may be necessary to perform its obligations under this Plan.
        9.2 – Management Fees and Costs. The Debtor shall be entitled to compensate
  its officers and directors with reasonable compensation for services following


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  confirmation of the Plan. Funding for such fees will be derived from the operation of
  the Debtor’s business.
         9.3- Effectuating the Plan. On the Effective Date of the Plan, Meers shall be
  appointed as the agents of the Debtor, pursuant to appropriate corporate law, pursuant
  to 11 U.S.C. §1142(b) for the purpose of carrying out the terms of the Plan, and taking
  all actions deemed necessary or convenient to consummating the terms of the Plan,
  including but not limited to execution of documents.
         9.4 - Disputed Claim Procedure. Distributions to any class of creditor will only
  be made on account of Allowed Claims. In the event that distributions are made at a
  time that a claim objection is pending before the Court or a judgment has entered to
  establish a Claim and the judgment is not subject to a Final Order, the portion of the
  distribution that would be paid to the disputed claimant will be held in an interest
  bearing bank account until the Claim is Allowed or disallowed. If Allowed, the Claim
  will be paid its appropriate share of the withheld payment. If disallowed, the withheld
  distribution will be paid on a Pro Rata basis to the remaining impaired Allowed
  claimants, or if all holders of Allowed Claims have been paid in full, paid to Debtor.
         9.5 - Claims and Litigation Bar Date and Standing. All Claim objections and
  Avoidance Actions in the case must be filed no later than 90 days following the
  Effective Date.   The Debtor shall have standing to commence, prosecute, and settle
  claim objections, Litigation, and avoidance actions without need for Court approval.
         9.6 - Administrative Expense Bar Date. All applications for allowance and
  payment of Administrative Claims, including Professional Fees, must be filed within 45
  days following the Effective Date of the Plan.
         9.7 - Monthly Installments.       Whenever the Plan provides for payment in
  monthly installments or a payment due in a certain month, the payment shall be due on
  the last day of the calendar month in which the payment is due, unless otherwise
  specified in the Plan. The Debtor shall then have a fifteen (15) day grace period within
  which the monthly payment must be received by the payee before the Debtor shall be in
  default, unless a longer period is specified elsewhere in the Plan.




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         9.8 - Final Decree. The Debtor will request entry of a final decree closing the
  case on or before the later of the date all Claim objections and any pending litigation is
  concluded or 180 days after the Effective Date of the Plan.
         9.9 - Quarterly Fees. Prior to the entry of the final decree, the Debtor shall
  continue to remit quarterly fees and post-confirmation reports to the United States
  Trustee, as required by statute.
         9.10 - Exemption from Transfer Taxes.          Pursuant to Section 1146(c) of the
  Code, the issuance, transfer, or exchange of notes or equity securities under the Plan by
  the Debtor, the creation of any mortgage, deed of trust, or other security interest, the
  making or assignment of any lease or the making or delivery of any deed or instrument
  of transfer under, in furtherance of, or in connection with the Plan shall not be subject
  to any stamp, real estate transfer, mortgage recording, or other similar tax.
         9.11 – Contractual Relationship. The Plan, upon confirmation, constitutes a
  new contractual relationship by and between the Debtor and its creditors. In the event
  of a default by the Debtor under the Plan, creditors shall be entitled to enforce all rights
  and remedies against the Debtor for breach of contract, the Plan. Any secured creditor
  claiming a breach of the Plan by the Debtor will be able to enforce all of their rights
  and remedies including foreclosure of their deed of trust, security agreement, lien, or
  mortgage pursuant to the terms of such document. Any creditor claiming a breach by
  the Debtor must provide written notice to the Debtor of the claimed default, the notice
  must provide the Debtor a thirty (30) day period within which to cure the claimed
  default, unless a longer period is specified elsewhere in the Plan. Upon the Debtor’s
  failure to cure the default within such thirty (30) day period, the creditor may proceed
  to exercise their rights and remedies.
         9.12 – Independent Provisions. Should it be determined by the Court that any
  provision of the Plan is impermissible or grounds for the denial of confirmation, the
  Debtor shall have the right, but not the obligation, to delete the impermissible provision
  and proceed with confirmation of the Plan provided that deletion of the offensive
  provision would result in a confirmable Plan.
         9.13 - Avoidance Actions. The Debtor has authority post-confirmation to pursue
  all Avoidance Actions for the benefit of creditors and the enhancement of distributions



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  under the terms of the Plan. The Debtor shall have sole authority to determine whether
  to pursue through litigation or settle any avoidance action. Any settlement shall require
  notice to creditors and opportunity for a hearing. The Debtor may retain counsel to
  recover the Avoidance Actions on reasonable terms without need for Court approval of
  fees or costs.
         9.14 – Professional Retention Post-Confirmation. Court approval shall not be
  required for either professional retention or compensation following the Effective Date
  of the Plan.


                                           ARTICLE X
                   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         10.1      - On the Effective Date of the Plan, the Debtor hereby assumes those
  executory contracts and unexpired leases listed in Exhibit A attached hereto and
  incorporated herein by reference, which have not been assumed by prior Order of the
  Court prior to the Confirmation Date. On the date of the entry of an Order confirming
  the Plan, the Debtor shall be the holders of all right, title and interest to the assumed
  leases and contracts and such assumed leases and contracts shall be in full effect and
  binding upon the Debtor and the other parties thereto. Confirmation of the Plan shall
  constitute a determination that the payments to be made to said creditors pursuant to the
  Plan satisfy all conditions precedent to assumption and assignment set forth in 11
  U.S.C. §365(b) and (f).
         10.2 - On the Effective Date of the Plan, the Debtor will reject all executory
  contracts and unexpired leases to which they are a party which are listed in Exhibit B,
  attached hereto and incorporated herein by reference which have not been rejected by
  prior Order of the Bankruptcy Court prior to the Confirmation Date.           Executory
  contracts and unexpired leases will be rejected pursuant to the provisions of 11 U.S.C.
  §365. Any executory contract or unexpired lease not assumed in accordance with the
  Plan shall be rejected.
         10.3 - An Order confirming this Plan constitutes approval by the Court of the
  assumption or rejection of the executory contracts and unexpired leases described
  herein in accordance with the provisions of 11 U.S.C. §365 and the Rules.


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         10.4 - Claims Arising from Rejection. All proofs of claim with respect to
  claims arising from the rejection of any executory contract or unexpired lease shall be
  filed with the Bankruptcy Court within twenty (20) days after the earlier of (i) the date
  of the Bankruptcy Court order approving the Debtor’s rejection of such executory
  contract or unexpired lease or (ii) the Confirmation Date. Any claims not filed within
  such time shall be forever barred against the Debtor, its estate and property and any
  such Claims shall be disallowed in full. Claims arising from such rejection, to the
  extent Allowed, shall be treated as a Class 9 Unsecured Claim.


                                            ARTICLE XI
                             MISCELLANEOUS PROVISIONS

         11.1   Revestment. On the Effective Date of the Plan all property of the estates
  shall revest in the Debtor free and clear of all liens except those specifically set forth in
  the Plan or as otherwise provided in the Plan.
         11.2   Retention of Jurisdiction. Notwithstanding confirmation of the Plan, the
  Court shall retain jurisdiction for the following purposes:
         1.     Determination of the allowability of claims upon objection to such claims
                by the Debtor-in-Possession or by any other party in interest;
         2.     Determination of the request for payment of claims entitled to priority
                under 11 U.S.C. Section 507(a)(2), including compensation of the parties
                entitled thereto;
         3.     Resolution of any disputes regarding interpretation of the Plan;
         4.     Implementation of the provisions of the Plan and entry of orders in aid of
                consummation of the Plan, including without limitation, appropriate
                orders to protect the revested Debtor from action by creditors;
         5.     Modification of the Plan pursuant to 11 U.S.C. §1127;
         6.     Adjudication of any causes of action, including avoiding powers actions,
                brought by the Debtor-in-Possession, by the representative of the estate or
                by a Trustee appointed pursuant to the Code;
         7.     Adjudication of any cause of action brought by the Debtor-in-Possession,
                Creditors Committee, by a representative of the estate, or by a Trustee


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                 appointed pursuant to the Code, or the revested Debtor exercising rights
                 and powers as provided in 11 U.S.C. §542-549. This section shall not be
                 construed to limit any other power or right which the Debtor may possess
                 under any section of the Code;
          8.     To close the case after the Plan becomes effective and reopen it when Plan
                 payments are completed to enter the discharge order; and
          9.     Enter a Discharge and Final Decree
          11.3 - Satisfaction of Claims. The Debtor shall receive a discharge on the
  Effective Date of the Plan pursuant to Section 1141(d). Confirmation of the Plan shall
  constitute a modification of any note or obligation for which specification and treatment
  is provided under the Plan as set forth in the Plan. Any obligation or note, previously
  in default, so modified, shall be cured as modified as of the Effective Date.       This
  provision shall be operable regardless of whether the Plan provides for any obligation
  to be evidenced by a rewritten loan or security document following confirmation of the
  Plan. During the time period from the Confirmation Date through the Discharge Date,
  no creditor affected by the Plan shall have the right to pursue any claims, either in
  Bankruptcy Court or State Court, except for any remedies as a result of the Debtor’s
  breach of the Plan. This provision neither expands nor detracts the jurisdiction of the
  Bankruptcy Court conferred under the Bankruptcy Code.
          11.4   Headings. The headings used in the Plan are for convenience of reference
  only and shall not limit or in any manner affect the meaning or interpretation of the
  Plan.
          11.5   Notices.    All notices, requests, demands, or other communications
  required or permitted in this Plan must be given in writing to the party(ies) to be
  notified. All communications will be deemed delivered when received at the following
  addresses:

                 a.    To:

                       Mesa Oil, Inc.
                       c/o Lawrence Meers
                       6395 E. 80th Ave.
                       Commerce City, CO 80022



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                      With a copy to:

                      Jeffrey S. Brinen, Esq.
                      Keri L. Riley, Esq.
                      Kutner Brinen, P.C.
                      1660 Lincoln St., Suite 1850
                      Denver, CO 80264
                      Fax: 303-832-1510
                      Email: jsb@kutnerlaw.com
                      Email: klr@kutnerlaw.com


               b.     To an allowed claimant, at the addresses set forth in the allowed
                      Proof of Claim, if filed, or, at the address set forth for the claimant
                      in the Debtor’s Schedules filed with the Court.
        11.6 - Successors and Assigns. The Plan will be binding upon the Debtor, any
  creditor affected by the Plan and their heirs, successors, assigns and legal
  representatives.
        11.7 - Unclaimed Payments. If a person or entity entitled to receive a payment
  or distribution pursuant to this Plan fails to negotiate a check, accept a distribution or
  leave a forwarding address in the event notice cannot be provided as set forth in
  paragraph 11.5, within three months of the Effective Date of the Plan, the person or
  entity is deemed to have released and abandoned any right to payment or distribution
  under the Plan.
        11.8 - Committee Existence.        Any Creditors Committee appointed in the
  bankruptcy case shall terminate on the Effective Date of the Plan.


                                        ARTICLE XII
                              CONFIRMATION REQUEST
        12.1 - The Debtor, as proponent of the Plan, requests confirmation of the Plan
  pursuant to 11 U.S.C. §1129. The Debtor will solicit acceptance of the Plan after its
  Disclosure Statement has been approved by the Court and is transmitted to the creditors,
  interest holders and parties in interest. In the event the Debtor does not obtain the
  necessary acceptances of its Plan, they may make application to the Court for


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 confirmation of the Plan pursuant to 11 U.S.C. $1129(b). The Court may confirm rhe
 Plan if it does not discriminate unfairly and is fair and equitable with respect to each
 class of Claims or Interests that is impaired and has not voted to accept the Plan.



 DATED: OctoberA, 2017

                                    MES

                                   By:




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 Keri L. Riley, Esq.
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 ATTORNEYS FOR DEBTOR




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                                      EXHIBIT A
               Executory Contracts and Unexpired Leases Assumed


       1.    All contracts and leases previously assumed or for which a motion to
             assume is pending including:
             a. Lease for real property located at 131 South 57th Avenue, Phoenix,
                Arizona by and between the Debtor and HollyFrontier Asphalt
                Company, LLC f/k/a NK Asphalt Partners; and
             b. Sublease for real property located at 6395 East 80th Avenue,
                Commerce City, Colorado 80222 by and between the Debtor and
                Peninsula Holdings, LLC.
       2.    All leases and contracts that are not specifically rejected.




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                                     EXHIBIT B
               Executory Contracts and Unexpired Leases Rejected


       1.    All leases and contracts previously rejected by Court Order or for which a
             motion to reject is pending.




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